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Paul A. Sanders
Partner


                                                               September 30, 2022


VIA CM/ECF
Hon. Cathy Seibel
United States District Judge
Southern District of New York
300 Quarropas St.
White Plains, NY 10601

         Re:        Antawon Johnson v. City of Poughkeepsie, et al.
                    SDNY Civil No.: 7:22-cv-07385 (CS)

Dear Judge Seibel:

         My firm represents defendant Lorraine Levitas in this matter.

       I respectfully request an extension of time for Ms. Levitas to respond to Plaintiff’s
Complaint (Dkt. 1) to November 14, 2022, consistent with Your Honor’s September 30, 2022
Order granting co-defendants’ Dkt. 11 request. Pursuant to Your Honor’s Individual Rules:

               1. I have yet to confirm the original deadline to respond to the Complaint as Plaintiff’s
                  counsel has not provided an affidavit of service, nor has one been filed.

               2. There have been no prior extension requests.

               3.   Not applicable.

               4. The reason for the instant request is that my firm was just assigned the defense of
                  Ms. Levitas in this lawsuit and we need additional time to review the pleadings,
                  confirm proper service of process, and appropriately respond to the Complaint.

               5. This morning, I requested consent from Plaintiff’s counsel for this adjournment,
                  but counsel has yet to respond to my request.

      The requested extension should not prejudice any party as the Court recently ordered the
same deadline (November 14, 2022) as to co-defendants represented by the NYS Attorney
General.




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September 30, 2022
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         Thank you for Your Honor’s consideration of this request.

                                                    Respectfully submitted,



                                                    Paul A. Sanders

PAS:np

cc:      Ryanne Konan, Esq. (via CM/ECF)
         David L. Posner , Esq. (via CM/ECF)
         Kimberly Hunt Lee, Esq. (via CM/ECF)
         Andrew Blancato, Esq. (via CM/ECF)




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